Case 4:20-cr-00276-GKF Document 108-5 Filed in USDC ND/OK on 04/26/21

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

Plaintiff,
VS. Case Number: 20-CR-00276
SHANNON JAMES KEPLER
Defendant.
EXHIBIT LIST FOR TRIAL

SUBMITTED BY ATTORNEY: Stanley D. Monroe

PARTY REPRESENTED: Shannon James Kepler

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No. Ofr Obj Adm Description
l Second 911 call from 8/5/14
2 911 call from 8/3/14 re: Heather Winters assault

Photos of “trash can gun” (discovered by Brian Clark)

Photos of knife carried by Jeremey Lake

Facebook picture of Jeremey Lake flashing gang sign

I
he
M
Photo of Josh Mills on 8/5/14
V

Facebook post of Josh Mills “wasted”

— NO Protective Order against Josh Mills

Photo of Jeremey Lake’s Property

AIS ISESTNIAT ATV AAS

lL
Property Receipt
be

Jimenez Gun

Submit to Courtroom Deputy (Do NOT File)

Exhibit List for Trial/Hearing CV-16A (6/2014)
